     Case 3:19-cv-01605-LAB-RBM Document 26 Filed 05/25/21 PageID.438 Page 1 of 2



1
2
3
4
5
6
7
8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11     HUMBERTO I. MIRANDA                      Case No.: 19cv1605-LAB (RBM)
12                                 Plaintiff,
                                                ORDER ADOPTING REPORT
13     v.                                       AND RECOMMENDATION AND
                                                GRANTING LEAVE TO AMEND
14     RAYMOND MADDEN, et al.
15                            Defendants.
16
17          Defendants filed a motion to dismiss (Docket no. 15), and Plaintiff filed a
18   motion for leave to amend. (Docket no. 22.)        Both motions were referred to
19   Magistrate Judge Ruth Montenegro for report and recommendation. On April 28,
20   Judge Montenegro issued her report and recommendation (the “R&R”), which
21   recommended granting both motions. Objections were due May 12, but none have
22   been filed.
23          A district court has jurisdiction to review a Magistrate Judge's report and
24   recommendation on dispositive matters. Fed. R. Civ. P. 72(b). "The district judge
25   must determine de novo any part of the magistrate judge's disposition that has
26   been properly objected to." Id. "A judge of the court may accept, reject, or modify,
27   in whole or in part, the findings or recommendations made by the magistrate
28   judge." 28 U.S.C. § 636(b)(1). This section does not require some lesser review

                                                1
                                                                                 19cv1605
     Case 3:19-cv-01605-LAB-RBM Document 26 Filed 05/25/21 PageID.439 Page 2 of 2



1    by the district court when no objections are filed. Thomas v. Arn, 474 U.S. 140,
2    149–50 (1985).
3          The Court ADOPTS the R&R. The motion to dismiss the first amended
4    complaint is GRANTED IN PART, as set forth in the R&R. Plaintiff’s motion for
5    leave to file a second amended complaint is GRANTED.
6          The Clerk is directed to send Plaintiff a blank Civil Rights Act (42 U.S.C.
7    § 1983) form complaint. No later than June 21, 2021, Plaintiff may file his second
8    amended complaint using this blank form complaint. The second amended
9    complaint must allege any and all claims against Defendants in one pleading,
10   without reference to any of the earlier complaints. See Civil Local Rule 15.1. The
11   second amended complaint must correct the defects that have been pointed out
12   to him.
13         If Plaintiff fails to correct defects that have been pointed out to him, the Court
14   may conclude that he cannot successfully amend. If he fails to amend within the
15   time permitted, this action may be dismissed without further notice to him.
16
17         IT IS SO ORDERED.
18   Dated: May 24, 2021
19
20                                            Honorable Larry Alan Burns
                                              United States District Judge
21
22
23
24
25
26
27
28

                                                2
                                                                                     19cv1605
